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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                             BILLINGS DIVISION


  UNITED STATES OF AMERICA,                       CR 23-28-BLG-SPW-3


                        Plaintiff,
                                              ORDER SETTING
           vs.                                SENTENCING

  BRANDON DANIEL FERNANDES,

                        Defendant.


      Defendant entered his plea of guilty before U.S. Magistrate Judge Timothy

J. Cavan in open court on May 24,2023. United States Magistrate Judge Timothy

J. Cavan entered Findings and Recommendation in this matter on May 24,2023

(Doc. 58). No objections having been filed within fourteen days thereof,

      IT IS HEREBY ORDERED that Judge Cavan's Findings and

Recommendations(Doc. 58)are ADOPTED IN FULL;

      Therefore,

      IT IS HEREBY ORDERED that,

      1.         Sentencing is set for Wednesday,September 20,2023 at 10:30 a.m.,

in the James F. Battin Courthouse, 2601 Second Avenue North, Billings, Montana.
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